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                             UNITED STATES DISTRICT COURT FOR
                                THE DISTRICT OF NEW JERSEY


    IN RE JOHNSON & JOHNSON “BABY
    POWDER” and “SHOWER TO SHOWER”
    MARKETING, SALES PRACTICES AND
    PRODUCTS LIABILITY LITIGATION
                                                                   MDL NO. 2738 (FLW) (LHG)
    THIS DOCUMENT RELATES TO:

    Wendy Butler, as the Anticipated Personal Representative
           of the Estate of Patricia Honeycutt, Deceased vs.
           Johnson & Johnson, et al.
    Case No.: 3:21-cv-6523-FLW-LHG




                                         NOTICE OF FILING

           Notice is hereby given pursuant to Case Management Order No. 3 (Filing of Short Form

    Complaints) that a Short Form Complaint and Jury Demand has been filed on behalf of Plaintiff,

    Wendy Butler, as the Anticipated Personal Representative of the Estate of Patricia Honeycutt,

    Deceased.

           This 14th day of July 2021.                   Respectfully submitted,


                                                         ONDERLAW, LLC

                                                  By:    /s/ James G. Onder
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                                         Certificate of Service

           The undersigned hereby certifies that this document was filed and electronically served by
    way of the Court’s electronic filing system this 14th day of July 2021.


                                                        /s/ James G. Onder
